                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   )   Chapter 11
                                                             )
    RED REEF ALTERATIVE INVESTMENTS                          )   Case No. 20-12602 (BLS)
    and EMERGENT CAPITAL, INC.,1                             )
                                                             )   (Jointly Administered)
                            Debtors.                         )
                                                             )   Re: D.I. 70 & 80

    In re:                                                   ) Chapter 11
                                                             )
    IMPERIAL PREMIUM FINANCE, LLC,2                          ) Case No.: 20-12694 (BLS)
                                                             )
                            Debtor.                          ) Re: D.I. 2 & 10
                                                             )

                      ORDER GRANTING MOTION TO SHORTEN NOTICE

             Upon the motion (“Motion to Shorten”)3 of the Pohls for entry of an order pursuant to

Local Rule 9006-1(e), shortening notice to consider the Motion to Extend; and the Court having

considered the Motion to Extend; and the Court finding that the notice proposed by the Motion to

Shorten is due, sufficient and adequate under the circumstances; and no other or further notice

need be provided; and the Court having determined that the legal and factual bases set forth in the

Motion to Shorten establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor,

             IT IS HEREBY ORDERED THAT:




1
  The last four digits of each Debtor’s taxpayer identification number are: Red Reef Alternative Investments, LLC
(0302) and Emergent Capital, Inc. (3473). The location of the Debtors’ service address for purposes of these cases is
1200 North Federal Highway, Suite 200, Boca Raton, FL 33432.

2
  The last four digits of the Debtor’s taxpayer identification number are: Imperial Premium Finance, LLC (4007). The
location of the Debtors’ service address for purposes of these cases is 1200 North Federal Highway, Suite 200, Boca
Raton, FL 33432.
3
  Unless defined herein, capitalized terms shall have the meanings ascribed to them in the Motion to Extend, as
applicable.


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         1.    The Motion to Shorten is GRANTED to the extent set forth herein.

         2.    A hearing on the Motion to Extend shall be held on November 16, 2020 at 1:30

p.m. (ET).

         3.    Objections to the Motion to Extend shall be due on or before November 13, 2020

at 12:00 p.m. (ET).




Dated: November 12th, 2020 Wilmington,
Delaware                                  BRENDAN L. SHANNON UNITED STATES BANKRUPTCY JUDGE




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